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                                                          Exhibit A to the Complaint
Location: San Antonio, TX                                                                           IP Address: 76.233.30.35
Total Works Infringed: 26                                                                           ISP: AT&T Internet
 Work     Hashes                                                                UTC          Site         Published      Registered   Registration
 1        Info Hash: F1FA322FA67DD15C312E3C2AFB5827F57C04FDC4                    09/26/2024 Blacked       09/20/2024     10/17/2024   PA0002494701
          File Hash:                                                                21:53:25
          1065EB4FFDD9775734DDDCD198DFF65E17375152A4EB3DFE5B36294CF4395548
 2        Info Hash: C4F37C5ED5B46F5B6EF06BB7ECBBD0DD58C3BDA3                    09/25/2024 Milfy         09/25/2024     10/16/2024   PA0002494687
          File Hash:                                                                18:46:50
          4F06AD7474807D06DC28EFAB1E82042D52B89FE29185A465CB753367017FFC9C
 3        Info Hash: 966AF5D11568D7D5896168F66E882245BA8A5F07                    09/09/2024 Blacked       01/12/2020     02/04/2020   PA0002225587
          File Hash:                                                                15:23:12 Raw
          13ABD2A124FF486B57001E7FB865A719FBB18B92F74EF38F6CD5ECA9744EBBE2
 4        Info Hash: A1D4109E4C77831525788A8A3E01C83610B9098A                    08/16/2024 Vixen         08/09/2024     08/15/2024   PA0002484824
          File Hash:                                                                16:42:37
          2B2D0351B81CD504E0AFEC9BF643AFF534128CC2F8B951F8CE5DB744BBFFA163
 5        Info Hash: FE3289A7C542CCAB30F3B0E37C2E9E145B3ECC5C                    08/08/2024 Tushy         02/12/2023     03/07/2023   PA0002400309
          File Hash:                                                                02:10:34
          CAE60E55B10CF11927E5271B96FB56FC16799F7D4A258B422B354DBC34F0AE07
 6        Info Hash: 42F4FC72BFE526D9442ABCD62F01232B062FAF12                    08/05/2024 Blacked       12/12/2020     01/04/2021   PA0002277035
          File Hash:                                                                03:41:34
          70D50A2F962E9E69D64450F1255A37496A84DC51CBC070FC62FD9604E9F44960
 7        Info Hash: 9A633DDEAF649ADEABEF3663CB4F4B10F6981204                    08/03/2024 Vixen         08/02/2024     08/15/2024   PA0002484855
          File Hash:                                                                18:27:22
          3177BDBB8DEF125694FAB328484E25DAAAF81175069B54DBFAB896A9E3E678F9
 8        Info Hash: 8A648DB9622035F8BA2FEDE5F9EDE4894208D3E3                    08/02/2024 Blacked       12/16/2019     01/22/2020   PA0002234860
          File Hash:                                                                20:56:34
          C12B33C60AD51B9712D51F693F99BB4758C1C2683D6A6D836CBB74868CFC98A8
 9        Info Hash: ADE0CB29621C8D7AE73E90BE7AD3067F0F291EB8                    08/01/2024 Milfy         08/09/2023     12/05/2023   PA0002443594
          File Hash:                                                                00:06:28
          9BA31501E8A94B03E804E2F10A54BDA74FB59B430F5D4F80D6FC05BDFF29ECDC
 10       Info Hash: A522F1491451CAA46B0630F5E21F82ABA5D5088B                    07/26/2024 Milfy         06/21/2023     08/22/2023   PA0002431065
          File Hash:                                                                18:32:35
          2B3682B12F387C0B1231AD09D6201056F9D7C4238A53EFCC29DECCEA8A752FB1
 11       Info Hash: 5BC257AEA17437FE40FC1FFCCF213266303D16EB                    07/18/2024 Milfy         07/17/2024     09/05/2024   PA0002491145
          File Hash:                                                                17:50:25
          9D4FB5093E9D778448FBF79BBE3A5A844AF5483776C6CFE7418BE59EF2E4691A
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Work   Hashes                                                             UTC          Site         Published    Registered   Registration
12     Info Hash: 2C5D449EC8953D17E08CE8523DAF8CCA40FF743E                 07/09/2024 Blacked       07/08/2024   07/15/2024   PA0002480635
       File Hash:                                                             16:46:44 Raw
       03013441D342061414924FC224867EAB52999C3CE24AF5ED4BC6F2068F6428A3
13     Info Hash: 400625A24D4B1350C5C9869DC1C9F7767C73C4D3                 07/07/2024 Tushy         06/30/2018   07/26/2018   PA0002112157
       File Hash:                                                             21:23:13
       7A005E171C7E821C1A1D93469F199B9B76CEEA2F4DE9EF762B41D575C440F8CE
14     Info Hash: 3EEA9CBA5FF2A3B747917B3B2B9FED36C8D9E40F                 07/03/2024 Milfy         07/03/2024   09/05/2024   PA0002491137
       File Hash:                                                             20:58:51
       055D332D822D4474D954CE456BA799DA658B8EC602F202716EA016F2F5506E93
15     Info Hash: B3A15D36E6B15B5D0FB06E835CEF1DE1394C9CBF                 07/03/2024 Milfy         02/14/2024   03/15/2024   PA0002463444
       File Hash:                                                             20:48:11
       A24EEDAEA9CA44006FA6B1E9F8F7777C2B7D64C935EF6E77D2746D9A2DFF63C7
16     Info Hash: C738CFA5354288DAD65504E3F060EAC260562E60                 06/27/2024 Milfy         06/26/2024   09/09/2024   PA0002491138
       File Hash:                                                             17:02:44
       5FC6E3C71C2C4BA2C15CAF4918020777C6B6F73357D2DB87F41DED855C881038
17     Info Hash: 04CC516AD8A755B8232BDD58516915DCA220B91E                 06/14/2024 Milfy         06/12/2024   09/09/2024   PA0002491143
       File Hash:                                                             18:20:21
       457DFE59F5FF1F8D8261D184D44E3EE8565317EFBDC118DF76C11464AC86BD0B
18     Info Hash: D4F4CB87CF6C9F5B302AEB41BD1901396245154E                 06/07/2024 Tushy         01/23/2022   02/14/2022   PA0002335464
       File Hash:                                                             17:13:07
       CB502BFCF04BDAE0BB88F6699859AFE62825B44BC764C9A7EEDE96882721EFA5
19     Info Hash: F460128C54DE06134C71227B9572FD1A2661E426                 06/07/2024 Tushy         06/02/2024   09/04/2024   PA0002490145
       File Hash:                                                             16:50:43
       E52608D8AC7A60D3266D0AA7C71C9B9472EF45418D9DBB34F6001E191E6EF399
20     Info Hash: 4844705C599B1C7D81E89AF67D61B3281247C258                 05/29/2024 Blacked       05/28/2024   06/18/2024   PA0002476882
       File Hash:                                                             19:04:22
       B0C49441E81A6ED706CA80EDED4AAE6E2A63FB31046D87906CA3F84B0261157D
21     Info Hash: 72ACB9A107341008730593EA4C32E3491A642198                 05/28/2024 Milfy         12/20/2023   01/16/2024   PA0002453983
       File Hash:                                                             00:59:21
       2D86E41C278FAF79AA097E39CBDF0810107ACCEEA33DFD9C1ED53B58E959DCDE
22     Info Hash: CEFEE757B2259F5233893E3FF0368EFBE049B900                 05/28/2024 Milfy         04/03/2024   06/24/2024   PA0002477489
       File Hash:                                                             00:20:02
       A80C256F469DA98596C39B43AF1D246B7CAE3FE25456A529EC2865956D6923A0
23     Info Hash: BF1767EACB0EF8175EDABF8AB21B1F6F49DB42A7                 05/26/2024 Milfy         03/06/2024   06/24/2024   PA0002477485
       File Hash:                                                             22:09:12
       60016707CB8CC42F8E32FCF2BEF7DAC0A1CED28E50ACA0A4FFE4E0EEA28AD7BB
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Work   Hashes                                                             UTC          Site         Published    Registered   Registration
24     Info Hash: 687A9B3B245BD6D8DA2ACBF8DCE2D81F6FAB3E4B                 05/20/2024 Tushy         05/19/2024   06/19/2024   PA0002476872
       File Hash:                                                             17:57:19
       DBE8E9C2C11BE4392B1872C38EB3E397CCC8544B64C62D48565D6E70B678CEB7
25     Info Hash: 9A91A2EE7A3BAEDCA09CCC1B8462A0F7B9BE9C98                 05/13/2024 Blacked       05/13/2024   06/18/2024   PA0002476744
       File Hash:                                                             21:32:26
       880B096D53B17F1A7194CE8226BB084B4D70E73C883BBB9174F490E5434037C9
26     Info Hash: 79697E57DBB146BFC6D554DC1A6A943D4197AB32                 05/12/2024 Vixen         05/10/2024   06/18/2024   PA0002476920
       File Hash:                                                             19:32:28
       E0820E05EB60CEA081936669C7F7A5D89DCAAEFF05D895638B2D52378C991DC8
